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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, CA   93721
     Telephone: (559) 497-4000
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 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA       ) Case No. 1:05-cr-00479 OWW
                                    )
12                  Plaintiff,      ) STIPULATION AND
                                    ) ORDER FOR CONTINUANCE OF
13               v.                 ) SENTENCING
                                    )
14   SOFIA MACIEL PASCACIO          )
                                    )
15                  Defendant.      )
     _______________________________)
16
17        IT IS HEREBY STIPULATED by and between McGregor W. Scott,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and James T. Elia, attorney for defendant, that the
20   sentencing currently set for June 16, 2008 be continued to July
21   7, 2008 at 2:00 p.m.
22   //
23   //
24   //
25   //
26   //
27   //
28
            Case 1:05-cr-00479-LJO Document 265 Filed 06/13/08 Page 2 of 2


 1   Dated: June 12, 2008                    Respectfully submitted,
 2                                           McGREGOR W. SCOTT
                                             United States Attorney
 3
 4                                      By    /s/ Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
 5                                           Assistant U.S. Attorney
 6   Dated: June 2, 2008                      /s/ James T. Elia____
                                             JAMES T. ELIA
 7                                           Attorney for Defendant
 8
 9
10        IT IS SO ORDERED.
11   Dated: June 12, 2008                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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